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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION
____________________________________________________________________________________

RAYMOND D. WEBB,                       )
    Plaintiff,                         )
v.                                     )      Case No. 2:20-CV-02217-TLP-cgc
                                       )
SN SERVICING CORPORATION and           )
MADISON MANAGEMENT SERVICES,           )
       Defendants.                     )
____________________________________________________________________________________

                        NOTICE BY PLAINTIFF TO SHOW CAUSE
____________________________________________________________________________________

        Comes now Raymond D. Webb, by and through his undersigned counsel, and in response to the

Order To Show Cause filed in this case on May 4, 2020 would show unto the Court the following:

        1.       Plaintiff filed a civil warrant against Defendants in the Shelby County General Sessions

Court for claims of certain violations of FDCPA.

        2.       The general sessions lawsuit was scheduled for initial hearing on April 14, 2020.

        3.       Prior to the initial hearing, Defendants removed the action to this Court.

        4.       Plaintiff’s undersigned counsel received a copy of the Court’s Order to Show Cause via

U.S. Mail on May 7, 2020.

        5.       Upon receipt of the Order to Show Cause, Plaintiff’s undersigned counsel learned for the

first time that a Motion to Dismiss had been filed by Defendants on April 1, 2020.

        6.       Upon receipt of the Order to Show Cause, Plaintiff’s undersigned counsel diligently

searched the receptionist and mail areas of his shared office building and did discover the envelope

containing the motion to dismiss (and several other notices from the U.S. Bankruptcy Court) had

inadvertently been put in the mail slot of a non-active attorney with offices in the same building.

        7.       Due to the many disruptions caused by the Covid-19 virus situation, the normal office

routines and procedures at Plaintiff’s counsel’s office have likewise been disrupted and Plaintiff requests

the Court to take this into account.
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        8.       Plaintiff is an elderly, indigent gentleman who deserves his day in court rather than to

have his case dismissed on a technicality and caused by inadvertence of his counsel in receiving notices

by U.S. Mail.

        9.       Plaintiff has suffered clear violations of FDCPA by Defendants and needs additional time

to amend the general sessions complaint for more specificity now that the matter has been removed to

federal court.

        WHEREFORE PREMISES CONSIDERED, PLAINTIFF PRAYS:

        1.       That the Court find sufficient cause exists to allow Plaintiff additional time to respond to

the Defendants’ Motion to Dismiss.

        2.       That Plaintiff be allowed to amend his complaint originally filed in the state court of

general sessions to meet the specificity requirements of such an action in federal court.

        3.       For such other and further relief as may be just and proper.



                                                  Respectfully submitted,

                                                  /s/CLIFTON E. DARNELL (B.P.R. No. 16050)
                                                  Attorney for Plaintiff
                                                  7500 Capital Drive
                                                  Germantown, TN 38138
                                                  (901) 388-0084



                                       CERTIFICATE OF SERVICE

        I hereby certify that a true and accurate copy of the foregoing has been mailed, postage prepaid,
to:
                         Bret J. Chaness
                         Patty Whitehead
                         Rubin Lublin, LLC
                         3145 Avalon Ridge Place, Suite 100
                         Peachtree Corners, GA 30071

                                                  on this 8th day of May, 2020.

                                                  /s/ CLIFTON E. DARNELL (B.P.R. 16050)
